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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

 CHARLES S. WEEMS, IV, an individual,
 KERRI WEEMS, an individual,                       Case No.: 3:23-cv-00811-MMH-LLL
 and CELEBRATION
 GLOBAL, INC., a Florida not for profit
 corporation, HONEY LAKE FARMS,
 INC., a Florida not for profit corporation,
 NORTHSTREAM MANAGEMENT
 GROUP, LLC, a Florida limited liability
 company, and WEEMS GROUP, LLC,
 a Florida limited liability company,

       Plaintiffs,

 v.

 ASSOCIATION OF RELATED
 CHURCHES, a Texas not-for-profit
 corporation, CHRIS HODGES, and
 individually, DINO RIZZO,

       Defendants.
                                               /

             PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs, Charles S. Weems, IV, Kerry Weems, Celebration Global, Inc.,

 Honey Lake Farms, Inc., Northstream Management Group, LLC and Weems Group,

 LLC (collectively, “Plaintiffs”), by counsel and pursuant to Local Rule 3.01(i), file this

 Notice of Supplemental Authority and state as follows:

       (1)     Citation of the Authority:      October 15, 2024 Order denying

               without prejudice a Petition for Writ of Prohibition filed by
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              Celebration Church of Jacksonville, Inc. (“Celebration”) in

              Florida’s Fifth District Court of Appeal Case No. 5D24-0476. 1

       (2)    Issue or Argument the Authority Supplements: The “Related

              State Court Litigation.” See Defendants’ Motion to Dismiss First

              Amended Complaint [Doc. 52 at pp. 8-9]; February 9, 2024 Order

              [Doc. 39 at pp. 5-6 and n.5].

       (3)    Quotation from Authority:           Florida’s Fifth District Court of

              Appeal “denied without prejudice to [Celebration] contesting

              jurisdiction in further proceedings” its Petition2 seeking to prohibit

              the state trial court from exercising jurisdiction over counterclaims

              against Celebration in the “Eviction Action” based on the same

              agreements at issue in the First Amended Complaint [see Doc. 49

              at ¶¶ 53-55, 103, 108, 113] based on the ecclesiastical abstention

              doctrine.




 1
   Pursuant to Local Rule 3.01(i), Plaintiffs are not attaching a copy of the Order to this
 Notice but it is available at: https://acis.flcourts.gov/portal/court/d818ccfa-0288-
 4e77-9f0f-daa6a4999a3a/case/2fb1c769-9c35-4e97-b103-f9fe09b9e0f1
 2
    The Petition for Writ of Prohibition and related filings are also available at:
 https://acis.flcourts.gov/portal/court/d818ccfa-0288-4e77-9f0f-
 daa6a4999a3a/case/2fb1c769-9c35-4e97-b103-f9fe09b9e0f1

                                              2
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 Dated: October 24, 2024.                      /s/ Shane B. Vogt
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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 24, 2024, the foregoing document was
 filed with the Court’s CM/ECF system, which will send electronic notice to all counsel
 of record.

                                                 /s/ Shane B. Vogt
                                                 Attorney




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